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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO



Andrea K. Drake, et. al.,                                  Case No.: 1:13-dp-20140

       Plaintiffs,

v.

Depuy Orthopaedics, Inc. et. al.,

       Defendants.

                                 -and-

Steven M. Johnson,                                         Case No.: 1:17-dp-20085

       Petitioner,

v.

William Scott Drake,

       Respondent.



                        AFFIDAVIT OF DEREK I. STEWART

       Come now, Derek I. Stewart, Esq., Associate Attorney at the Law Firm of

Meshbesher and Spence in Minneapolis, Minnesota States as follows:


       1) That attached as Exhibit A, is a true and correct copy of the Memorandum


Opinion and Order of Judge Helmick, dated September 30, 2019.


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       2) That attached as Exhibit B, is a true and correct copy of the unpublished Sixth


Circuit Opinion, dated December 15, 2020


       3) That attached as Exhibit C, is a true and correct copy of the Attorney


Representation Agreement, dated January 24, 2012.


       4) That attached as Exhibit D, is a true and correct copy of the Findings,


Conclusions and Recommendations of the United States Magistrate Judge, Paul

Stickney, dated February 9, 2017;


       5) That attached as Exhibit E, is a true and correct copy of Steven M. Johnson’s


Amended Application for Order Confirming Domestic Arbitration Award, dated April

3, 2017.


       6) That attached as Exhibit F, is a true and correct copy of the Order transferring


Johnson’s Application to the Northern District of Ohio, dated December 20, 2017.


                          SIGNATURE PAGE TO FOLLOW




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                                           MESHBESHER & SPENCE, LTD.

Dated: September 23, 2021

                                           By:_/s/Derek I. Stewart____________
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